Case 6:25-mj-01031-RMN        Document 25      Filed 07/11/25   Page 1 of 6 PageID 95




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                             CASE NO. 6:25-mj-1031-RMN

CAROLINA AMESTY

                  UNITED STATES’ TIME-SENSITIVE
            RENEWED MOTION FOR EXTENSION OF TIME
        BY WHICH INDICTMENT/INFORMATION MUST BE FILED

      The government files this renewed motion for an Order extending the time for

the return of an indictment or information pursuant to 18 U.S.C. § 3161(b) through

and including August 22, 2025. The government believes that this extension would

best serve the interests of justice and that the time would be excludable under 18

U.S.C. § 3161(h)(7)(A). The government also includes in this motion the detailed

factual proffer that the Court has required for any further extensions of this deadline.

See Doc. 24 at 3.

      In compliance with Local Rule 3.01(e), the government requests a ruling on

this motion by Tuesday, July 15, 2025, due to the deadline in the Court’s Order

dated June 20, 2025 (Doc. 24).

                                  BACKGROUND

      On January 16, 2025, the defendant was charged by criminal complaint for

violations of 18 U.S.C. § 641 (theft of government property). Doc. 1. On January 30,

2025, the defendant executed a waiver of the speedy indictment or information
Case 6:25-mj-01031-RMN        Document 25      Filed 07/11/25   Page 2 of 6 PageID 96




period. Doc. 11-1. On February 3, 2025, the parties filed a joint motion to extend

time to file an indictment or information, which the Court granted on February 5,

2025. Doc. 11; Doc. 12. The Court found that the time from January 21, 2025,

through April 21, 2025, was tolled under 18 U.S.C. § 3161(b) and (h)(7). Doc. 12.

      The defendant’s initial appearance was held on February 18, 2025. Doc. 13.

Then, on April 15, 2025, the defendant executed a second waiver of the speedy

indictment or information period, through June 20, 2025. Doc. 21-1. In connection

with that waiver, the parties filed a second joint motion for an extension of time by

which an indictment or information must be filed, which the Court granted on April

17, 2025. Doc. 21; Doc. 22. The Court found that the time from April 21, 2025,

through June 20, 2025, was excludable under 18 U.S.C. § 3161(h)(7).

      On June 3, 2025, the defendant executed a third waiver of the speedy

indictment or information period, through August 22, 2025. Doc. 23-1. In

connection with that waiver, the parties filed a third joint motion for an extension of

time by which an indictment or information must be filed. Doc. 23. The Court

partially granted that motion, granting an extension through July 23, 2025, and

finding that the additional time was excludable under 18 U.S.C. § 3161(h)(7). Doc.

24. The Court determined, though, that any further extension was not warranted

based on the information before it and stated that a detailed factual proffer would be

necessary if they sought any further continuances. Id.




                                           2
Case 6:25-mj-01031-RMN            Document 25     Filed 07/11/25     Page 3 of 6 PageID 97




                                       DISCUSSION

       As the parties have previously stated to the Court, counsel for the United

States and the defendant currently are engaged in active discussions regarding the

appropriate disposition of this matter. To provide more detail on these discussions,

current counsel for Amesty were retained around December 13, 2024. Over the

following months and through the present, counsel have provided extensive

information to the United States that they believe is exculpatory to their client. This

includes dozens of pages of summaries and letters, multiple in-person meetings and

phone calls, and over 500 pages of documents. Over 100 pages of documents were

produced on June 13, 2025, along with a 22-page summary letter. 1 The United States

has undertaken a diligent and expeditious review of these recent defense disclosures

but needs additional time to carry out its obligations to fully review and consider

these materials in its decision on how to proceed. In addition to the United States’

obligation to fully review and consider these materials, the defendant has stated in

correspondence and in discussions with the United States that it is incumbent upon

the United States to fully review these materials prior to making a final decision as to

the disposition of this matter.

       Additionally, the United States’ investigation remains ongoing, due in part to

a pending sealed motion related to grand jury proceedings. See Exhibit 1. The results




       Since December 2024, the United States has also provided multiple summary letters and
       1

many documents to the defendant as part of the ongoing discussions between the parties.

                                              3
Case 6:25-mj-01031-RMN         Document 25      Filed 07/11/25   Page 4 of 6 PageID 98




of this ongoing investigation are relevant to the United States’ assessment of the

appropriate disposition of this matter and thus to the parties’ ongoing discussions.

                                    CONCLUSION

      For these reasons, the government renews its request to this Court for an

extension of the deadline to indict and believes that a continuance would serve the

ends of justice by providing the United States with reasonable time for full

consideration of the materials provided by Amesty and providing the parties with

reasonable time for additional discussions, taking into account the exercise of

diligence. Based upon this information, the interests of justice would be served by the

parties continuing to attempt to resolve this matter prior to grand jury presentment,

indictment, and/or trial. Should the Court require further detail regarding the

matters discussed above, the government requests a hearing to supplement the

record.

      As stated in the parties’ joint motion for extension dated June 15, 2025 (Doc.

23 at 2), the defendant has been apprised of the constraints of 18 U.S.C. § 3161 et.

seq. as it relates to her case and, voluntarily and with full knowledge of the

consequences, previously waived any time from tolling on her right to a speedy

indictment or trial through August 22, 2025.

      The government respectfully requests that the Court grant this Motion and

extend the time within which an indictment or information may be filed in this case

through August 22, 2025. If the Court grants this Motion, the government also

requests that the Court find in its Order that the ends of justice served by taking such

                                            4
Case 6:25-mj-01031-RMN        Document 25      Filed 07/11/25   Page 5 of 6 PageID 99




action outweigh the best interests of the public and the defendant in a speedy

indictment and trial.

      Moreover, if the Court grants this Motion, the government will make a final

decision as to the appropriate disposition of this case on or before August 22, 2025.

      Local Rule 3.01(g) Certification. In compliance with Local Rule 3.01(g), on

July 10, 2025 and July 11, 2025, the government conferred via email with defense

counsel regarding this motion. Additionally, on July 11, 2025, the government called

defense counsel following up regarding defense counsel’s position. As of the time of

filing of this motion, defense counsel have not provided the government with their

position on this motion, though the United States understands that defense counsel

are aware of and considering the motion.



                                               Respectfully submitted,

                                               GREGORY W. KEHOE
                                               United States Attorney
                                        By:    /s/ Sarah Megan Testerman
                                               Sarah Megan Testerman
                                               Assistant United States Attorney
                                               Florida Bar No. 0124884
                                               400 W. Washington St., Suite 3100
                                               Orlando, Florida 32801
                                               Telephone: (407) 648-7500
                                               Facsimile: (407) 648-7643
                                               Email: megan.testerman@usdoj.gov




                                           5
Case 6:25-mj-01031-RMN        Document 25        Filed 07/11/25   Page 6 of 6 PageID 100




U.S. v. CAROLINA AMESTY                             Case No. 6:25-mj-1031-RMN

                            CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2025, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Bradley Bondi
       Attorney for Defendant




                                      By: /s/ Sarah Megan Testerman
                                          Sarah Megan Testerman
                                          Assistant United States Attorney
                                          Florida Bar No. 0124884
                                          400 W. Washington Street, Suite 3100
                                          Orlando, Florida 32801
                                          Telephone: (407) 648-7500
                                          Facsimile: (407) 648-7643
                                          E-mail: megan.testerman@usdoj.gov




                                             6
